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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

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UNITED STATES OF AMERICA SEALED
SUPERSEDING
INFORMATION

HW.o , S7 18 Cr. 693 (RMB)
JOACHIM ALEXANDER VON DER GOLTZ,
Defendant,
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COUNT ONE
(Conspiracy to Commit Tax Evasion)

The United States Attorney charges:

1, From at least in or about 2000 through in or about
2016, in the Southern District of New York and elsewhere, JOACHIM
ALEXANDER VON DER GOLT4, the defendant, together with others known
and unknown, wilifuliy and knowingly d@id combine, conspire,
confederate, and agree together and with each other to commit.
offenses against the United States, to wit, violations of Titie
26, United States Code, Section 7201.

2. Tt was a part and an object of the conspiracy that
JOACHIM ALEXANDER VON DBR GOLTZ, the defendant, together with
others known and unknown, willfully and knowingly would and did
attempt to evade and defeat a substantial part of the income tax

due and owing to the United States of America by VON DER GOLTZ, in

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violation of Title 26, United States Code, Section 7201,
Overt Act

3. In furtherance of the conspiracy and to effect the
illegal object thereof, the following overt act, among others, was
committed in the Southern District of New York and elsewhere:

a. In or about June 2003, JOACHIM ALEXANDER VON

DER GOLTZ, the defendant, sent an email regarding the provision of
Guatemalan identification and a Guatemalan address in an effort to
conceal the United States residence of the beneficial owner of an
overseas entity and its asséts.

(Title 18, United States Code, Section 371.)

 
 

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COUNT TWO
(Fraud and False Statements)

The United States Attorney further charges:

4, Qn or about May 5, 2016, in the Southern District
of Florida and elsewhere, JOACHIM ALEXANDER VON DER GOLT2Z, the
defendant, did willfully make and subscribe a return, statement,
and other document, which contained and was verified by a written
declaration that it was made under penalties of perjury, and which
he did not believe to be true and correct as to every material
manner, to wit, VON DER GOLTZ executed and caused to be filed a
Certification by U.S. Person Residing in the United States for
Streamlined Domestic Offshore Procedures Form 14654, which, in
substance and in part, omitted the existence of a foreign bank
account that was owned by VON DER GOLTZ and falsely stated that
VON DER GOLTZ was previously unaware of his obligation to report
foreign bank accounts to the Internal Revenue Service.

(Title 26, United States Code, Section 7206(1); Title 18,
United States Code, Section 2.)

 
 

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COUNT THREE
“(Willful Failure to File an FBAR)

The United States Attorney further charges:

5. From in or about 2001 through in or about 2016, in
the Southern District of Florida and elsewhere, JOACHIM ALEXANDER
VON DER GOLTZ, the defendant, did knowingly and willfully fail to
file Reports of Foreign Bank and Financial Accounts, FinCEN Report
114 (formerly TD F 90-22.1) (*“FBARs”) with the United States
Department of the Treasury disclosing that VON DER GOLTZ had a
financial interest in, and signature and other authority over, a
bank, securities, and other financial account in a foreign country,
which had an aggregate value of moré than $10,000 during each of
those years, to wit, a financial account located at a Panamanian
bank.

(Title 31, United States Code, Sections 5314 and 5322 (a);
Title 31, Code of Federal Regulations,

Sections 1010.350, 1010.306(c, dad), and 1010.840(b); Title 18,
United States Code, Section 2.)

GEOFFREY S () BERMAN
United States Attorney

 

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DERORAH CONNOR

Chief, Money Laundering and
Asset Recovery Section
Criminal Division

 
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Form No. USA-33s~-274 (Ed. 9-25-58)

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SOUTHERN DISTRICT OF NEW YORE

 

UNITED STATES OF AMERICA
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JOACHIM ALEXANDER VON DER GOLTZ,

Defendant.

 

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S7 18 Cr. 693 {RMB)
(18 U.S.C. §$§ 371 and 2;

26 U.S.C. 7206(1); and
31 U.S.C. §§ 5314, and 5322,)

GEOFFREY 5. BERMAN
United States Attorney.

 

 

 

 

 
